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              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


 KINGTOM ALUMINIO SRL,

                 Plaintiff,

         v.                                                                  Court No. 22-00072

 UNITED STATES,

                 Defendant.


                                           COMPLAINT

       1.       Plaintiff Kingtom Aluminio SRL (“Plaintiff” or “Kingtom”) by and through its

counsel hereby allege and state as follows:

                                          JURISDICTION

       2.       Plaintiff brings this action pursuant to 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I) and

(a)(2)(B)(iii) to contest certain aspects of the final results of the administrative review of the

antidumping duty (“AD”) order on certain aluminum extrusions from the People’s Republic of

China, Case No. A-570-967, issued by the International Trade Administration of the United

States Department of Commerce (“Commerce”). Aluminum Extrusions From the People’s

Republic of China: Final Results of Antidumping Duty Administrative Review; 2019-2020,

87 Fed. Reg. 7,098 (Dep’t Commerce Feb. 8, 2022) and accompanying Issues and Decision

Memorandum (“Final Results”). The challenged review covered entries from May 2019 through

April 2020.

       3.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1581(c)

because this action is commenced pursuant to 19 U.S.C. § 1516a.




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                                  PARTIES AND STANDING

       4.       Plaintiff is a manufacturer in the Dominican Republic who exported aluminum

extrusions to the United States during the period of review. Therefore, Plaintiff is an interested

party within the meaning of sections 771(9)(A) and 516A(f)(3) of the Act, 19 U.S.C.

§§ 1677(9)(A) and 1516a(f)(3). Plaintiff was a party to the administrative proceeding that led to

the determination that is being challenged herein, as Plaintiff was selected by Commerce as

mandatory respondent, responded to all of Commerce’s questionnaires during the course of the

proceeding, and submitted a case brief to Commerce. Accordingly, Plaintiff has standing

pursuant to 28 U.S.C. § 2631(c) to commence this action.

                               TIMELINESS OF THE ACTION

       5.       On February 8, 2022, Commerce published Final Results in the Federal Register.

87 Fed. Reg. at 7,089. Plaintiff timely filed a summons on March 9, 2022 within 30 days after

the publication of Final Results pursuant to 19 U.S.C. § 1516a. Plaintiff timely files this

Complaint within thirty days of the filing of the Summons, in accordance with 19 U.S.C. §

1516a(a)(2)(A), 28 U.S.C. § 2636(c), and Rules 3(a)(2) and 6(a) of the Rules of this Court.

                                   STATEMENT OF FACTS

       6.       On February 2, 2020, U.S. Customs and Border Protection (“CBP”) notified

certain importers of Kingtom’s products that it had initiated an investigation pursuant to the

Enforce and Protect Act (“EAPA”) to determine whether the importers evaded antidumping

duties imposed pursuant to the orders covering aluminum extrusions from the People’s Republic

of China (“EAPA Case No. 7348”). See Letter from the Aluminum Extrusions Fair Trade

Committee to Sec’y Commerce, “Aluminum Extrusions from the People’s Republic of China:

Comments on Kingtom’s Section A Questionnaire Response,” at Attachment 1 (Jan. 7, 2021) (on




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record of Case No. A-570-967) (“Petitioner’s Section A Comments”). At the time it notified the

importers of EAPA Case No. 7348 on February 2, 2021, without notice to Kingtom, and without

providing Kingtom or the importers an opportunity to respond to allegations of evasion, CBP

applied 86.01 percent antidumping duties retroactively on all unliquidated entries, changing them

from type 1 to type 3, and required 86.01 percent antidumping duty cash deposits on all

prospective entries of Kingtom’s aluminum extrusions by the importers in that investigation. Id.

Prior to February 2, 2020, Kingtom had no notice of any EAPA investigation regarding

Kingtom’s products and had no reason to have entries of its aluminum extrusions be declared as

type 3 subject merchandise. Also, at the time, there had been no determinations that any

Kingtom aluminum extrusions were transshipped from China. CBP requested information from

Kingtom in EAPA Case No. 7348, but Kingtom was not permitted to submit voluntary factual

information or written arguments in that case because, unlike the importers under investigation,

Kingtom was not a “party to the investigation.” Id at 17.; see also 19 C.F.R. § 165.1 (defining

“parties to the {EAPA} investigation”).

       7.       On May 4, 2020, CBP notified certain other importers that it had initiated another

EAPA investigation (“EAPA Case No. 7423”) into those importers of Kingtom’s aluminum

extrusions, and applied antidumping duties to all such entries by the importers without any notice

to Kingtom or prior notice the importers. See Letter from the Aluminum Extrusions Fair Trade

Committee to Sec’y Commerce, “Aluminum Extrusions from the People’s Republic of China:

Comments on Kingtom’s Non-Market Economy Producer Status,” at Exhibit 1 (May 5, 2021)

(on record of Case No. A-570-967) (“Petitioner’s NME Comments”). No information was

requested from Kingtom in EAPA Case No. 7423, and Kingtom was not permitted to submit any

factual information or written arguments on the record of that case because, unlike the




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investigated importers, it was not a “party to the investigation.” See id.

       8.       Because CBP found that a reasonable suspicion existed that Kingtom’s

merchandise was covered merchandise subject to the antidumping duty order on Aluminum

Extrusions from China, Kingtom requested that Commerce conduct an administrative review for

products exported by Kingtom on May 29, 2020. See Letter from Sandler, Travis and

Rosenberg, P.A. to Sec’y Commerce, “Aluminum Extrusions From the People’s Republic of

China, A-570-967 Request for Administrative Review” (May 29, 2020) (“Kingtom AD Review

Request”). In its request for administrative review, Kingtom noted that it refutes the alleged

evasion and requested that Commerce postpone the review of Kingtom until a final decision had

been made by CBP in the EAPA investigation. Id.

       9.       On July 10, 2020, Commerce initiated the 2019-2020 administrative review of the

antidumping duty order on aluminum extrusions from the People’s Republic of China. Initiation

of Antidumping and Countervailing Duty Administrative Reviews, 85 Fed. Reg. 41,540 (Dep’t

Commerce July 10, 2020) (“Initiation Notice”). In its Initiation Notice, Commerce noted its

intent to select mandatory respondents based on volume data contained in quantity and value

(“Q&V”) questionnaires. Id. at 41,541.

       10.      On August 10, 2020, Kingtom submitted a certification that it did not have

entries, exports, or sales of subject merchandise during the period of review, and requested that

Commerce rescind the administrative review of Kingtom. Letter from Sandler, Travis and

Rosenberg, P.A. to Sec’y Commerce, “Aluminum Extrusions from the People’s Republic of

China: Certification of No Sales, Shipments, or Entries” (Aug. 10, 2020) (on record of Case No.

A-570-967) (“Kingtom’s No-Shipment Certification”). At the time of Kingtom’s No-Shipment




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Certification, there was no determination that Kingtom had transshipped any Chinese-origin

aluminum extrusions to the United States.

       11.     On August 14, 2020, Kingtom voluntarily submitted the quantity and value of the

aluminum extrusions that it produced in and exported from the Dominican Republic in response

to Commerce’s Q&V questionnaire. Letter from Sandler, Travis and Rosenberg, P.A. to Sec’y

Commerce, “Aluminum Extrusions from the People’s Republic of China: Quantity and Value

Questionnaire,” Attachment 1 (Aug. 14, 2020) (on record of Case No. A-570-967) (“Q&V

Response”). The Q&V information that Kingtom reported covered all of Kingtom’s sales to the

United States, not just those subject to EAPA investigations. Importantly, Kingtom noted in its

Q&V Response that it was reporting merchandise that it “manufactured and exported from the

Dominican Republic.” Id. Also, Kingtom again expressly refuted “all allegations that its

merchandise is subject merchandise from China,” but noted that it “is providing the Department

of Commerce with this {Q&V} information to ensure compliance to the best of its abilities”

because it is an exporter and producer of aluminum extrusions “that may be subject to this

antidumping order” as it is “currently subject to ongoing investigations by U.S. Customs and

Border Protection regarding allegations of evasion.” Id. at 2. At the time of Kingtom’s AD

Q&V Response, there had been no determination that Kingtom had transshipped any Chinese-

origin aluminum extrusions to the United States.

       12.     On August 17, 2020, Kingtom submitted a separate rate application. Letter from

Sandler, Travis and Rosenberg, P.A. to Sec’y Commerce, “Aluminum Extrusions from People’s

Republic of China: Separate Rate Application” (Aug. 17, 2020) (on record of Case No. A-570-

967). In its separate rate application, Kingtom substantiated that it exports aluminum extrusions

from the Dominican Republic by providing a certification from the Dominican customs authority




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and sample export documentation. See Kingtom’s Separate Rate Application at Exhibit 10,

Exhibit 11.

       13.     On October 26, 2020, Commerce selected Kingtom as the sole mandatory

respondent for the administrative review. Memorandum from Mark Flessner, Int’l Trade

Compliance Analyst for Antidumping and Countervailing Duty Operations Office VI to Dana S.

Mermelstein, Director of Antidumping and Countervailing Duty Operations Office VI,

“Aluminum Extrusions from the People’s Republic of China 2019-2020 Administrative Review:

Identification of Mandatory Respondent,” at 4 (Dep’t Commerce Oct. 26, 2020) (on record of

Case No. A-570-967).

       14.     On November 2, 2020, CBP issued its initial “Determination as to Evasion” in

EAPA Case No. 7348. See Petitioner’s Section A Comments at Attachment 1. CBP found that

record evidence supported that Kingtom produces aluminum extrusions in the Dominican

Republic. Id. at Attachment 1 at 17. In its determination, CBP cited absolutely no evidence that

any aluminum extrusion that Kingtom exported originated in China – bills of lading, certificates

of origin, import data, or otherwise. Id. Rather, CBP found that differences between Kingtom’s

EAPA Case No. 7348 responses and the responses provided by the importers hindered CBP’s

ability to analyze Kingtom’s operations. Id. Accordingly, CBP selected facts available with an

adverse inference to determine that Kingtom transshipped commingled Chinese-origin aluminum

extrusions to the United States, and thus found that the importers of its extrusions evaded paying

duties. Id. The affirmative determination of evasion in EAPA Case No. 7348 was limited to the

importers under investigation in that case, and no entries of Kingtom’s aluminum extrusions by

other importers. Id. (“CBP determines that substantial evidence exists demonstrating that the

aluminum extrusions entered by the Importers during the POI were transshipped Chinese-origin




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aluminum extrusions.”). Kingtom and the importers dispute the EAPA Case No. 7348

Determination as to Evasion and CBP’s characterization of the record in that case. See Brief of

Plaintiff-Intervenor Kingtom Aluminio S.R.L. in Support of Motion for Judgment on the Agency

Record at 11-37, Global Aluminum Distributor LLC v. United States, No. 21-198 (Ct. Int’l Trade

filed Feb. 14, 2022). Those issues are currently before this Court. Id.

       15.     Commerce issued an initial questionnaire to Kingtom on November 4, 2020.

Kingtom timely submitted its response to Section A of the initial questionnaire on December 10,

2020, and its responses to Sections C and D on December 31, 2020. See Letter from Morris,

Manning & Martin, LLP to Sec’y Commerce, “Letter from Morris, Manning & Martin LLP to

Sec’y Commerce, “Aluminum Extrusions from the People’s Republic of China, Case No. A-570-

967: Section A Questionnaire Response” (Dec. 10, 2020); Letter from Morris, Manning &

Martin, LLP to Sec’y Commerce, “Aluminum Extrusions from the People’s Republic of China,

Case No. A-570-967: Sections C-D Questionnaire Response” (Dec. 31, 2020) (“Kingtom’s

Section C-D Response”). In its Section C response, Kingtom reported all of its sales of

aluminum extrusions to the United States, including the importers from EAPA Case No. 7348

and 7423, as well as all of its other sales during the period of review. See Kingtom’s Section C-

D Response at Exhibit C-7. In its response, Kingtom stated:

       {Kingtom} manufactured the aluminum extrusions in the Dominican Republic
       (“DR”) and exported the extrusions directly to the United States as export price
       (“EP”) sales. Because production of the aluminum extrusions took place at
       Kingtom’s factory in the DR from materials primarily from the DR and other
       market-economy countries, and very little material inputs sourced from China,
       Kingtom contends that its exports of aluminum extrusions are not subject to the
       order on aluminum extrusions from China and this administrative review is
       misplaced. Nevertheless, Kingtom provides the information requested by the
       Department, to the best of its ability, in response to the Department’s questionnaire.

Id. at C-1 (emphasis added).

       16.     The Aluminum Extrusions Fair Trade Committee (“Petitioner”) submitted


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comments on Kingtom’s Sections C-D initial questionnaire response on January 21,

2021. See Letter from the Aluminum Extrusions Fair Trade Committee to Sec’y

Commerce, “Aluminum Extrusions from the People’s Republic of China: Comments on

Kingtom’s Sections C-D Questionnaire Responses” (January 21, 2021). Petitioner

argued that the EAPA cases demonstrate that the origin of Kingtom’s merchandise is

China, not the Dominican Republic. Id. at 3-4.

       17.     Kingtom responded to Petitioner’s comments on January 28, 2021. See

Letter from Morris, Manning & Martin LLP to Sec’y Commerce, “Aluminum Extrusions

from the People’s Republic of China, Case No. A-570-967: Response to Petitioner’s

Comments on Kingtom’s Section C-D Questionnaire Response” (January 28, 2021).

Kingtom argued that the EAPA determination cites no affirmative evidence that any

aluminum extrusion that Kingtom exported originated in China. Id. at 3-4. Kingtom also

noted that as a result of the EAPA interim measures, pursuant to which CBP unilaterally

changed certain entries from type 1 entries from the Dominican Republic to type 3 entries

from China, the CBP data on the record of the administrative review “is not a reliable

indicator of the country of origin of Kingtom’s entries.” Id. at 6. Commerce did not

issue any supplemental questionnaire to Kingtom in this proceeding.

       18.     Also on January 28, 2021, CBP issued its determination in EAPA Case No. 7423.

Again, CBP found that “evidence on the record shows that {} it was possible for Kingtom to

produce aluminum extrusions in the Dominican Republic.” Petitioner’s NME Comments at

Exhibit 1 at 17. CBP based the EAPA Case No. 7423 determination on the prior EAPA Case

No. 7348 determination, and found that Kingtom transshipped commingled Chinese-origin

aluminum extrusions to the investigated importers. Id. Again, CBP cited no affirmative




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evidence that Kingtom’s aluminum extrusions were Chinese-origin. Id. The holding of EAPA

Case No. 7423 is limited to the investigated importers. Id. (“CBP determines that substantial

evidence exists demonstrating that the aluminum extrusions entered by the Importers during the

POI were transshipped Chinese-origin aluminum extrusions.”).

       19.    On January 28, 2021, Commerce requested comments on surrogate country

selection and surrogate values. See Letter from Erin Kearney, Program Manager of AD/CVD

Operations, Office VI to All Interested Parties, “Aluminum Extrusions from the People’s

Republic of China, 2019-20: Request for Economic Development, Surrogate Country and

Surrogate Value Comments and Information” (Dep’t Commerce Jan. 28, 2021) (on record of

Case No. A-570-967). Kingtom submitted comments on the List of Countries at the Same Level

of Economic Development on Feb. 4, 2021. See Letter from Morris, Manning & Martin LLP to

Sec’y Commerce, “Aluminum Extrusions from the People’s Republic of China, Case No. A-570-

967: Kingtom Comments on the List of Countries at the Same Level of Economic Development”

(Feb. 4, 2021). In its comments on the List of Countries at the Same Level of Economic

Development, Kingtom again explained that it “does not export merchandise from a nonmarket

economy. Kingtom maintains and the record demonstrates that Kingtom exports its products

from the Dominican Republic, a market economy country.” Id. at 2. Nevertheless, Kingtom

provided the requested surrogate value information to Commerce on February 4 and March 5,

2021. See Letter from Morris, Manning & Martin LLP to Sec’y Commerce, “Aluminum

Extrusions from the People’s Republic of China, Case No. A-570-967: Kingtom Surrogate

Country Comments” (Feb. 9, 2021); Letter from Morris, Manning & Martin LLP to Sec’y

Commerce, “Aluminum Extrusions from the People’s Republic of China, Case No. A-570-967:

Kingtom Surrogate Value Comments” (March 5, 2021) (“Kingtom’s Surrogate Value




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Comments”). In its surrogate value comments, Kingtom reiterated that:

       First, Kingtom does not export merchandise from a nonmarket economy. The
       record demonstrates that Kingtom is a market economy company operating and
       exporting from the Dominican Republic, a market economy country. Second,
       Kingtom’s merchandise is not subject merchandise, i.e., not subject to the
       aluminum extrusion antidumping order on China. The record of this investigation
       demonstrates that Kingtom produced its aluminum extrusions in the Dominican
       Republic.

Kingtom’s Surrogate Value Comments at 2 (emphasis added).

       20.     In its comments on surrogate country selection, Petitioner argued that Commerce

should “choose a surrogate country that is similarly situated” to the Dominican Republic. See

Letter from the Aluminum Extrusions Fair Trade Committee to Acting Sec’y Commerce,

“Aluminum Extrusions from the People’s Republic of China: Comments on Surrogate Country

Selection,” at 4 (Feb. 9, 2021) (on record of Case No. A-570-967). In rebuttal, Kingtom noted

that Petitioner’s request for Commerce to select a country “similar situated” to the Dominican

Republic acknowledged that Kingtom actually produces aluminum extrusions in the Dominican

Republic and not China. See Letter from Morris, Manning & Martin LLP to Sec’y Commerce,

“Aluminum Extrusions from the People’s Republic of China, Case No. A-570-967: Kingtom

Surrogate Country Rebuttal Comments,” at 3 (Feb. 19, 2021).

       21.     On May 10, 2021, CBP notified Kingtom of yet another EAPA investigation into

imports of Kingtom’s aluminum extrusions. See Letter from Brian M. Hoxie, Director of the

Enforcement Operations Division to the Parties to the Investigation to the Parties to the

Investigation, “Notice of Initiation of Investigation and Interim Measures – EAPA Case 7550”

(May 10, 2021). CBP based its allegedly reasonable suspicion explicitly and primarily on its

prior findings in EAPA Case No. 7348 and EAPA Case No. 7423, id. at 7-8, but again cited no

affirmative evidence that any of Kingtom’s aluminum extrusions are Chinese-origin.

       22.     On June 8, 2021, Kingtom requested that Commerce issue a scope ruling as to


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whether the aluminum extrusions that Kingtom produces in and exports from the Dominican

Republic were subject to the antidumping and countervailing duty orders on aluminum

extrusions from the People’s Republic of China. See Letter from Morris, Manning & Martin,

LLP to Sec’y Commerce, “Letter from Morris, Manning & Martin LLP to Sec’y Commerce,

“Aluminum Extrusions from the People’s Republic of China, Case Nos. A-570-967 and C-570-

968: Kingtom Scope Ruling Request” (June 8, 2021). In its scope ruling request, Kingtom

submitted a complete certified list of its imports into the Dominican Republic free trade zone

where it is located for the calendar years 2019 and 2020, which covers the period of review. Id.

at Exhibit 3. The Dominican Republic customs authority itself compiled the list and certified its

accuracy and completeness. Id. The customs data demonstrates that Kingtom did not import any

aluminum extrusions from any other country. Id. at 11, 15. Importantly, Kingtom expressly

asked Commerce to conduct the scope inquiry in conjunction with the ongoing administrative

review, and reconciled the data submitted in the scope request to the cost reconciliation that it

provided in its section D initial questionnaire response. Id. at 2, Exhibit 11.

       23.     On July 30, 2021, Commerce determined that the EAPA determinations are

“conclusive” as to Kingtom’s entries “in the context of the administrative review.” See

Memorandum from Mark Flessner, Case Analyst, to The File, “Administrative Review of the

Antidumping Duty Order on Aluminum Extrusions from the People’s Republic of China, 2019-

2020: Placement of Scope Initiation Deferral Letter on the Record” (Dep’t Commerce July 30,

2021). Therefore, Commerce “deferred initiation of th{e} scope inquiry until such time as there

are entries not subject to the EAPA proceedings or until the parties to the EAPA proceedings

have exhausted all other administrative and legal remedies.” Id. Kingtom notes that it reported

sales to importers other than those subject to any EAPA proceeding, as Kingtom reported all of




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its sales to the United States in its section C database. See Kingtom’s Section C-D Response at

Exhibit C-7. In other words, Commerce deferred initiation of the scope inquiry despite the fact

that it was aware there are entries of Kingtom’s merchandise that are not subject to any EAPA

proceeding. As of the date that Kingtom files this Complaint, Commerce has neither initiated the

scope inquiry nor ruled on the scope request.

       24.     On August 6, 2021, Commerce published in the Federal Register a notice of the

preliminary results. See Aluminum Extrusions From the People’s Republic of China:

Preliminary Results of Antidumping Duty Administrative Review and Rescission of Review in

Part; 2019-2020, 86 Fed. Reg. 43,168 (August 6, 2021) (“Preliminary Results”). In its

Preliminary Results, Commerce denied Kingtom a separate rate and included it in the China-

wide entity. Commerce preliminarily determined, based almost exclusively upon the CBP

EAPA investigations, and allegedly conflicting statements by Kingtom, that Kingtom exported

subject aluminum extrusions from the Dominican Republic that are Chinese in origin, and is

therefore a third-country exporter. Commerce further determined that Kingtom is not eligible for

a separate rate because Kingtom did not identify a Chinese exporter upon which Commerce

could apply our non-market economy calculation methodology to calculate a dumping margin.

       25.     On September 7, 2021, Kingtom submitted a case brief addressing the

Preliminary Results and Commerce’s determination to include Kingtom in the China-wide

entity. See Letter from Morris, Manning & Martin LLP to Sec’y Commerce, “Aluminum

Extrusions from the People’s Republic of China, Case No. A-570-967, Case Brief of Kingtom

Aluminio SRL (“Kingtom Case Brief”) (Sept. 7, 2021). In its case brief, Kingtom argued that by

relying almost exclusively on the CBP EAPA determinations for its conclusions in the

Preliminary Results, Commerce had abdicated its obligation to conduct this administrative




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review. Kingtom argued that all relevant evidence relied upon by CBP as the basis for its EAPA

determinations was redacted from the public versions of the determinations placed on the record

of this review. Accordingly, Kingtom argued that it had been provided no opportunity to

respond to the evidence used against it, violating its right to due process. Kingtom further

argued that because Commerce largely ignored the record evidence submitted by Kingtom in

making its determination, it violated the substantial evidence standard. Kingtom additionally

noted that Commerce’s assertion that Kingtom made conflicting statements as to whether it had

exports of subject merchandise is unsupported by substantial evidence. On September 16, 2021,

Petitioner submitted a rebuttal brief supporting Commerce’s Preliminary Results determinations.

       26.     On February 8, 2022, Commerce published the Final Results. See Aluminum

Extrusions From the People’s Republic of China: Final Results of Antidumping Duty

Administrative Review; 2019-2020, 87 Fed. Reg. 7,098 (February 8, 2022) (“Final Results”) and

accompanying Issues and Decision Memorandum (“IDM”). In the Final Results Commerce

maintained its determinations from the Preliminary Results and continued to include Kingtom in

the China-wide entity.

       27.     On February 8, 2022, because Commerce continued to find that its aluminum

extrusions are within the scope of the Orders, Kingtom requested that Commerce implement a

certification procedure pursuant to 19 C.F.R. § 351.228, similar to those that Commerce

routinely grants in anti-circumvention proceedings, whereby Kingtom may continue to

prospectively import aluminum extrusions that it produces in and exports from the Dominican

Republic without prohibitive antidumping and countervailing duty cash deposits. See Letter

from Morris, Manning & Martin, LLP to Sec’y Commerce, “Aluminum Extrusions from the

People’s Republic of China, Case No. A-570-967: Request for the Implementation of




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Certification Procedures” (Feb. 8, 2022) (on record with Kingtom’s counsel) (“Kingtom

Certification Request”); see also, e.g., Certain Cold-Rolled Steel Flat Products From the

Republic of Korea: Affirmative Final Determinations of Circumvention of the Antidumping Duty

and Countervailing Duty Orders 84 Fed. Reg. 70,934, 70,936 (Dep’t Commerce Dec. 26, 2019).

Kingtom submitted that a certification procedure is appropriate here because the facts of this

case, including the EAPA determinations that Commerce selected as facts available, indisputably

demonstrate that Kingtom produces at least some aluminum extrusions in, and exports them

from, the Dominican Republic. Kingtom Certification Request at 2-3; Petitioner’s Entry

Information Comments at Exhibit 1, Exhibit 3 (“Evidence on the record shows that Kingtom was

able to produce aluminum extrusions in the Dominican Republic.”). Kingtom also explained that

its business is overwhelmingly in the United States and that the combined antidumping and

countervailing duties threaten Kingtom’s solvency.

       28.     On February 24, 2022, Commerce rejected Kingtom’s Certification Request as an

untimely submission because the record of the administrative review was closed. See Letter

from Erin Kearney, Program Manager for AD/CVD Operations Office VI to Kingtom Aluminio,

SRL, “Administrative Review of the Antidumping Duty Order on Aluminum Extrusions from

the People’s Republic of China, 2019-2020: Rejection of Submission” (Dep’t Commerce Feb.

24, 2022).

       29.     On February 28, 2022, Kingtom resubmitted its Certification Request onto the

still open record of the scope proceeding. Letter from Morris, Manning & Martin, LLP to Sec’y

Commerce, “Aluminum Extrusions from the People’s Republic of China, Case Nos. A-570-967

and C-570-968: Request for Certification Procedure Implementation,” (Feb. 24, 2022). Kingtom

notes that its Certification Request informed Commerce that there are entries of Kingtom’s




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aluminum extrusions not covered by any EAPA investigation. Kingtom Certification Request at

3.

       30.     On March 3, 2022, Commerce deferred consideration of Kingtom’s Certification

Request “until such time as there are entries not subject to EAPA proceedings or until the parties

to the EAPA proceedings have exhausted all other administrative and legal remedies.”

Memorandum from Mark Flessner, Int’l Trade Compliance Analyst for AD/CVD Operations

Office VI to The File, “Aluminum Extrusions from the People’s Republic of China: Request for

Certification Process” (Dep’t Commerce March 3, 2022).

                                 STATEMENT OF CLAIMS

       31.     Commerce’s Final Results are unsupported by substantial evidence and are

otherwise not in accordance with law in the following respects:

                                            COUNT I

       32.     Paragraphs 1 through 31 are incorporated by reference as if fully set forth herein.

       33.     In its Final Results, Commerce made the determination that Kingtom had exports

of subject merchandise based almost exclusively on CBP EAPA investigations, wherein CBP

determined based on adverse facts available (“AFA”) that Kingtom had exports of subject

merchandise. See Final Results and accompanying Issues and Decision Memorandum at

Comment 1.

       34.     Commerce’s virtually complete reliance on the AFA CBP EAPA determinations

is an abdication of its legal responsibility to conduct this administrative review. Commerce is

legally obligated under the Statute to conduct administrative reviews of AD orders. Further,

Commerce is obligated to make its determination based on the entirety of the record evidence of

the administrative review. By making its determination based only on the CBP EAPA




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determinations while ignoring the vast majority of submitted evidence, Commerce’s Final

Results are unsupported by substantial record evidence and contrary to law.

                                                COUNT II

       35.     Paragraphs 1 through 34 of this Complaint are incorporated herein by reference.

       36.     Commerce’s Final Determination that Kingtom had shipments of subject

merchandise, based almost exclusively on the public versions of EAPA investigation

determinations put on the record of this review, is a violation of due process. As described

above, in its Final Results, Commerce relied almost completely on the CBP EAPA

investigations. The sole evidence of the CBP EAPA investigations determinations put on the

record of this review are public versions of the determinations. Neither Kingtom nor Kingtom’s

counsel were able to confront the evidence in its entirety, as critical data and other information

upon which the EAPA determinations were based has been redacted from these public versions.

                                               COUNT III


       37.     Paragraphs 1 through 36 of this Complaint are incorporated herein by reference.

       38.     Commerce’s virtually complete reliance on the AFA CBP EAPA determinations

is a violation of the substantial evidence standard. The Act requires that Commerce’s decisions

must be supported by substantial evidence. See section 1516A(b)(1)(B)(i) of the Tarrif Act of

1930. This requires Commerce to evaluate fully all record evidence, including contradictory

evidence. Because it made its Final Determination based almost exclusively on the CBP EAPA

investigation determinations, and ignored the bulk of the evidence submitted by Kingtom,

Commerce’s determination is not supported by substantial evidence.

                                               COUNT IV

       39.     Paragraphs 1 through 38 of this Complaint are incorporated herein by reference.



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       40.      Commerce’s determination that Kingtom made conflicting statements as to

whether or not it had exports of subject merchandise is not supported by substantial evidence.

Commerce used this determination to support its determination to deny Kingtom a separate rate.

Because the record evidence clearly demonstrates the Kingtom was consistent in it reporting on

this issue, Commerce’s determination is unsupported by substantial evidence.

                                              COUNT V

       41.     Paragraphs 1 through 40 of this Complaint are incorporated herein by reference.

       42.     Commerce’s determination to deny Kingtom a separate rate, even if it did have

exports of subject merchandise from China as a third-country exporter, is unsupported by

substantial evidence and contrary to law. Commerce regularly gives separate rates to third

country exporters and was required to do so in this administrative review when it made the

determination that Kingtom had exports as a third-country exporter.

                                              COUNT VI

       43.     Paragraphs 1 through 42 of this Complaint are incorporated herein by reference.

       44.     Commerce’s determination not to conduct the scope inquiry regarding Kingtom’s

aluminum extrusions in conjunction with this administrative review, and its decision to defer the

scope inquiry, are unsupported by substantial evidence, an abuse of discretion, and otherwise not

in accordance with law.

       45.     Additionally, Commerce’s deferral of Kingtom’s scope inquiry constitutes

“agency action unlawfully withheld or unreasonably delayed” that the Court should compel

pursuant to the Administrative Procedure Act, 5 U.S.C. § 706(1).




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                                              COUNT VII

       46.     Paragraphs 1 through 45 of this Complaint are incorporated herein by reference.

       47.     Commerce’s determinations to reject and defer Kingtom’s Certification Requests

are unsupported by substantial evidence, an abuse of discretion, and otherwise not in accordance

with law.

                                        PRAYER FOR RELIEF

       48.     For the foregoing reasons, Plaintiff respectfully requests that this Court hold

Commerce’s Final Results unsupported by substantial record evidence and otherwise not in

accordance with law. Plaintiff thus respectfully requests that this Court remand the Final Results

to Commerce to correct the errors set forth in this Complaint and provide other such relief as this

Court deems appropriate.

                                                     Respectfully submitted,

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Dated: April 8, 2022




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